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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


   STEPHANIE MANTOUVALOS,

         Plaintiff,

          v.
                                                 Docket No. 1:14-cv-10067
   DIANE MANTOUVALOS and
   PAULA MANTOUVALOS,

         Defendants


   MEMORANDUM IN SUPPORT OF THE MOTION OF THE
    PLAINTIFF FOR ALTERNATIVE SERVICE OF PROCESS

The Plaintiff requests that the Court enter an order permitting the Plaintiff
serve Diane Mantouvalos (“Diane”) by serving her a copy of the summons
and complaint by E-mail and Twitter and by publishing notice of the lawsuit
in the Miami Herald. Thus far, the Plaintiff’s attempts to serve Diane have
been unsuccessful, and alternative service is necessary.

This Court has the authority to permit service on defendants located outside
of the judicial district in manners other than service of a summons and
complaint. Under Fed. R. Civ. P. 4(e),

          Unless federal law provides otherwise, an individual...
          may be served in a judicial district of the United States
          by: (1) following state law for serving a summons in an
          action brought in courts of general jurisdiction in the
          state where the district court is located or where service
          is made....

Local law therefore governs service on out-of-state defendants. See also
Garcia Pujol v. U.S. Life Ins. Co., 396 F.2d 430, 431 (1st Cir. 1969).
Massachusetts law permits service on individuals outside of the
commonwealth “as directed by the court” so long as the method is
“reasonably calculated to give actual notice” to the defendants. M.G.L. c.
223A, § 6(a)(5).


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The Plaintiff has attempted to serve Diane in numerous ways to no avail.
First, she mailed by certified and first class mail copies of the summonses and
complaints with waivers of service on January 20, 2014. Aff. Groulx, ¶ 11. The
first class mailing was returned as undeliverable with no forwarding address,
and the Plaintiff never received a signed (or unsigned) return receipt. Aff.
Groulx, ¶¶ 14-15. When that failed, the Plaintiff sent the summons, complaint,
and waiver of service care of Stamatis Astris at 255 Beacon Street, #21,
Boston, Massachusetts, 02116, whom the Plaintiff believes to be Diane’s
current boyfriend. Aff. Groulx, ¶ 16; Aff. Mantouvalos, ¶ 10-11 (March 26,
2014). There was no response to that mailing either within thirty days. Aff.
Groulx, ¶ 17. Third, the Plaintiff hired a process server (Firefly Legal of
Miami, Florida) to attempt service at Diane’s last and usual residence, 475
Bricknell Avenue Apartment 2810, Miami, Florida, 33131. Aff. Groulx, ¶ 18.
The process server reported that Diane no longer lives at that address and has
since moved. Aff. Groulx, ¶ 21. It is apparent that the Plaintiff does not know
where Diane currently lives and has no way to serve her by traditional
methods.

The Plaintiff’s proposed methods of service are “reasonably calculated to give
actual notice” to Diane. First, Diane has maintained the same E-mail address
(andoniapr@yahoo.com) for many years. Aff. Mantouvalos, ¶ 2-3. If she
receives E-mail there, she will be likely to receive it. Second, Diane actively
uses Twitter. Aff. Mantouvalos, ¶ 8. Her account handle is @AndoniaPR. Aff.
Mantouvalos, ¶ 5. A private message to her will likely be received. Third, the
Plaintiff believes that Diane still resides in Miami, Florida, because her Twitter
page indicates that she is located at "Boston+Miami+Athens". Aff.
Mantouvalos, ¶ 6. Publishing notice of the suit will therefore likely reach her
as well. Moreover, Diane already may have actual knowledge of this suit. Aff.
Mantouvalos, ¶¶ 12-15. Paula Mantouvalos has already been served with
process in this action. [Document 4]. The Plaintiff believes that Diane and
Paula do correspond and may have discussed this action. Aff. Mantouvalos,
¶ 14. The foregoing methods of service will therefore give Diane actual notice
of this action and afford her sufficient due process.

For the foregoing reasons, the Plaintiff requests the stated relief.




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                                   Respectfully submitted,

                                   STEPHANIE MANTOUVALOS,

                                   by her attorney,

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Date: March 26, 2014




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